             Case 3:16-cv-05315-RSM Document 225 Filed 09/14/20 Page 1 of 2




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 3
                                  UNITED STATES DISTRICT COURT
 4
                                 WESTERN DISTRICT OF WASHINGTON
 5                                         AT SEATTLE

 6
 7    ASHER J. BECKER,                                   Case No. 3:16-cv-05315-RSM-JRC

 8                  Plaintiff,                           ORDER ADOPTING REPORT AND
                                                         RECOMMENDATION
 9                    v.
10
      BRENT CARNEY, et al.,
11
                  Defendants.
12
13
            The Court, having reviewed the Report and Recommendation of Magistrate Judge J.
14
     Richard Creatura, objections to the Report and Recommendation filed by Plaintiff and
15
16   Defendants, Defendants’ Response to Plaintiff’s objections, and the remaining record, hereby

17   finds and ORDERS:
18
            (1) Defendants’ Summary Judgment Motion (Dkt. #199) is GRANTED IN PART AND
19
               DENIED IN PART. All claims are dismissed with prejudice except the § 1983
20
               claim that Joe Williamson retaliated against Plaintiff.
21
22          (2) Plaintiff’s Cross-Motion for Summary Judgment (Dkt. #211) is DENIED as

23             untimely.
24
            (3) The Clerk shall send copies of this order to Plaintiff and Judge Creatura.
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     ORDER ADOPTING REPORT AND RECOMMENDATION - 1
          Case 3:16-cv-05315-RSM Document 225 Filed 09/14/20 Page 2 of 2




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 2       DATED this 14th day of September, 2020.

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 5
 6                                         RICARDO S. MARTINEZ
 7                                         CHIEF UNITED STATES DISTRICT JUDGE

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     ORDER ADOPTING REPORT AND RECOMMENDATION - 2
